         Case 3:20-cv-00266-PRM Document 5 Filed 11/23/20 Page 1 of 2




                          UNITED STATES DISTRICT COURT                                       -:
                           WESTERN DISTRICT OF TEXAS
                                 El PASO DIVISION


BRANDON CALLIER,

                            Plaintiff,

               V.
                                                           EP-20-CV-0266

CAROLiNA ROCHA, QUOTEFIRE.COM a
California corporation, and THE ALLSTATE
CORPORATION, a Delaware corporation

                             Defendants.



                    PLAINTIFF'S MOTION TO DISMISS WITH PREJUDICE


                                                                               Plaintiff hereby
       The parties have resolved the case and completed their obligations. The
requests the court dismiss the case against all parties with prejudice.




November 23, 2020



                                     Respecthilly submitted,



                                           LSA!_llIllI
                                     Brandon Callier
                                     Plaintiff, Pro-se
                                     6336 Franklin Trail
                                     El Paso, TX 79912
            Case 3:20-cv-00266-PRM Document 5 Filed 11/23/20 Page 2 of 2




                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    El PASO DIVISION

                                                       §
BRANDON CALLIER,                                       §
                                                       §
                                Plaintiff,             §
                                                       §
                 v.                                    §       EP-20-CV-0266
                                                       §
CAROLINA ROCHA, QUOTEFIRE.COM a                        §
California corporation, and THE ALLSTATE               §
CORPORATION, a Delaware corporation                    §
                                                        §
                                Defendants.             §
                                                        §



                                   CERTIFICATE OF SERVICE


I   certif' that a true copy of the foregoing was sent via mail to the defendants' attorney of

record.



November 23, 2020




                                                 Brandon Callier
                                                 Pro-se
                                                 6336 Franklin Trail
                                                 El Paso, TX 79912
